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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                       )
                                                )        8:05CR179
                      Plaintiff,                )
                                                )           ORDER
               vs.                              )
                                                )
RUSSELL PAPROSKI,                               )
                                                )
                      Defendant.                )



      IT IS ORDERED that defendant’s motion to continue (Filing No. 57) is granted. The
Change of Plea hearing is continued to December 9, 2005 at 9:30 a.m. before Magistrate
Judge Thomas D. Thalken, Courtroom No. 7, Second Floor, Roman L. Hruska U.S.
Courthouse, 111 South 18th Plaza, Omaha, Nebraska.

       For this defendant, the time between November 30, 2005 and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the
Speedy Trial Act. See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

         Since this is a criminal case, the defendant must be present unless excused by the
Court.

         DATED this 30th day of November, 2005.


                                              BY THE COURT:


                                              s/ Thomas D. Thalken
                                              United States Magistrate Judge
